                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )
vs.                                        )       Case No. 05-00344-01/02-CR-W-ODS
                                           )
GARY EYE and                               )
STEVEN SANDSTROM,                          )
                                           )
                     Defendants.           )

         ORDER (1) ADOPTING MAGISTRATE JUDGE’S REPORT AND
      RECOMMENDATION AND (2) GRANTING DEFENDANTS’ MOTIONS FOR
                         EXTENSION OF TIME


1.     On May 2, 2006, the Honorable Robert E. Larsen, United States Magistrate
Judge for the Western District of Missouri, issued his Report and Recommendation (“the
Report”) recommending that the undersigned deny Defendant Steven Sandstrom’s
Motion to Dismiss or, in the Alternative, for a Bill of Particulars. Defendant filed a timely
objection to the Report.
       With respect to Sandstrom’s arguments for dismissal, the Court has conducted a
de novo review of the Record and agrees with the Report’s conclusions. The Report’s
thoroughness removes the need for the undersigned to provide a detailed discussion; in
summary, the Court agrees that the indictment fairly apprises Sandstrom of the charges
against him and will allow him to plead an acquittal or conviction as a bar to future
prosecutions.
       Judge Larsen’s decision to deny Sandstrom’s request for a Bill of Particulars is
reviewed for clear error. 28 U.S.C. § 636(b)(1)(A). Keeping in mind that the decision to
grant or deny a request for a Bill of Particulars is discretionary, the Court’s review of the
record reveals no clear error.




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       The Report is adopted as the Order of the Court. Sandstrom’s Motion to Dismiss
or, in the Alternative, for a Bill of Particulars, is denied.
2.     On May 2, Judge Larsen also issued a Report and Recommendation,
recommending the undersigned deny Defendant Gary Eye’s Motion to Dismiss for
Selective Prosecution. No objections were filed, and the time for doing so has passed.
See Order dated May 9, 2006. Accordingly, Judge Larsen’s recommendation is
adopted and the Motion to Dismiss is denied.
3.     Pending are motions for additional time to file objections to additional rulings
issued by Judge Larsen. The motions (Doc. # 126 and Doc. # 128) are granted.
Objections to the Report and Recommendations issued on May 11, 2002, and May 15,
2002, shall be filed on or before June 12, 2006.

IT IS SO ORDERED.



                                                     /s/ Ortrie D. Smith
                                                     ORTRIE D. SMITH, JUDGE
DATE: May 30, 2006                                   UNITED STATES DISTRICT COURT




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